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    IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

       MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA     )
                             )
    v.                       )               CRIMINAL ACTION NO.
                             )                  2:13cr90-MHT
SHAWN A. JOHNSON,            )                     (WO)
BOBBIE JEAN CHILSOM,         )
SHARON JOHNSON,              )
SHIRLEY JOHNSON,             )
PRINTICE JOHNSON,            )
EDMOND LEWIS HARRIS, JR.,    )
DENNIS COLEMAN,              )
RICHARD JAMAR PINKSTON, JR., )
TELVIN BROWN,                )
SUNQUESHA GASTON,            )
PHILANTHIA ROBERTS,          )
SARA CHILSOM, and            )
SAMUELLA McMILLIAN           )

                          OPINION AND ORDER

    On June 20, 2013, an on-the-record status conference was

held and counsel for all defendants in this criminal case

were present. This cause is before the court on oral motions

to continue made by counsel for defendants Bobbie Jean

Chilsom and Sara Chilsom and a written motion to continue

made by counsel for defendant Edmond Lewis Harris, Jr.                   The

government does not oppose the requests. For the reasons set

forth below, the court finds that jury selection and trial,
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now set for August 5, 2013, should be continued pursuant to

18 U.S.C. § 3161(h)(7).         And because this continuance is a

“reasonable   period     of   delay”     under    §   3161(h)(6),        jury

selection and trial should also be continued for defendants

Shawn A. Johnson, Sharon Johnson, Shirley Johnson, Printice

Johnson, Dennis Coleman, Richard Jamar Pinkston, Jr., Telvin

Brown, Sunquesha Gaston, Philanthia Roberts, and Samuella

McMillian.

    While the granting of a continuance is left to the sound

discretion of the trial judge, United States v. Stitzer, 785

F.2d 1506, 1516 (11th Cir. 1986), the court is limited by the

requirements of the Speedy Trial Act, 18 U.S.C. § 3161.                   The

Act provides in part:

         "In any case in which a plea of not guilty
         is entered, the trial of a defendant
         charged in an information or indictment
         with the commission of an offense shall
         commence within seventy days from the
         filing date (and making public) of the
         information or indictment, or from the date
         the defendant has appeared before a
         judicial officer of the court in which such
         charge is pending, whichever date last
         occurs."



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18 U.S.C. § 3161(c)(1).         The Act excludes from the 70-day

period any continuance based on “findings that the ends of

justice served by taking such action outweigh the best

interest of the public and the defendant in a speedy trial.”

§ 3161(h)(7)(A).      Further, with respect to defendants who do

not themselves request a continuance, the Act also excludes

from the 70-day period any “reasonable period of delay”

attributable    to    continuances           granted   to   codefendants.

§ 3161(h)(6).        In granting a continuance, the court may

consider, among other factors, whether the failure to grant

the continuance would “result in a miscarriage of justice,"

§ 3161(h)(7)(B)(i), or “[w]hether the case is so unusual or

so complex ... that it is unreasonable to expect adequate

preparation”         without        granting           a    continuance.

§ 3161(h)(7)(B)(ii).

    The court concludes that, in this case, the ends of

justice   served     by   granting       a   continuance    outweigh     the

interest of the public and all defendants in a speedy trial.

Counsel for three of the defendants have represented that,



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given their obligations to clients in other ongoing cases and

the sizeable discovery in this case, counsel cannot be

prepared    to   afford    adequate      representation     at   trial    in

August.     Given      these    circumstances,     additional     time    to

prepare for trial should be afforded.

    Because      the    court    decides    it   proper     to    grant    a

continuance under § 3161(h)(7)(A) to the three defendants who

moved for one, the court further finds that that delay is a

“reasonable” one under § 3161(h)(6) with respect to the non-

moving defendants.

                                    ***

    Accordingly, it is ORDERED as follows:

    (1) The oral motions to continue, made by defendants

           Bobbie Jean Chilsom and Sara Chilsom on June 20,

           2013, and the written motion to continue (doc. no.

           111), made by defendant Edmond Lewis Harris, Jr.,

           are granted.

    (2) The jury selection and trial for defendants Shawn A.

           Johnson,     Bobbie    Jean     Chilsom,    Sharon     Johnson,



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     Shirley    Johnson,      Printice     Johnson,     Edmond       Lewis

     Harris, Jr., Dennis Coleman, Richard Jamar Pinkston,

     Jr.,   Telvin     Brown,    Sunquesha      Gaston,    Philanthia

     Roberts, Sara Chilsom, and Samuella McMillian, now

     set for August 5, 2013, are reset for September 30,

     2013 at 10:00 a.m., in Courtroom 2FMJ of the Frank

     M. Johnson Jr. United States Courthouse Complex, One

     Church Street, Montgomery, Alabama.

DONE, this the 20th day of June, 2013.

                               /s/ Myron H. Thompson
                            UNITED STATES DISTRICT JUDGE
